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IN THE UNITED STATES DISTRICT COURT “ "

FOR THE WESTERN DISTRICT OF TENNESSEE 05AUG|9
WESTERN DIVISION

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JANET SHIRLEY, et al.,
Plaintiffs,

VS.

Civ. NO. O3-2679-BZP
GOODYEAR TIRE & RUBBER CO.,

et al.,

~_r\../-\_¢v`_n\./\_rv`_d'~..z-._u

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the court is defendant‘s Motion for Protective Order,
filed on May 23, 2005 (dkt #89). Local Rule 7.2(a)(2) provides:

the response to the motion and its supporting
memorandum . . . shall be filed within
fifteen days after service of the motion and
shall be accompanied by a proposed order.
Failure to respond timely to any motion,
other than one requesting dismissal of a
claim or action, may be deemed good grounds
for granting the motion.

Although plaintiff indicated at the May 5, 2005 hearing that
he opposes the motion, a response has not been filed. Plaintiff
is hereby ordered to show cause within ten (10) days from the
date of this order why the motion should not be granted.

IT IS SO ORDERED.
____-___

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TU M. PHAM
United States Magistrate Judge

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Date Q n n

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 120 in
case 2:03-CV-02679 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

